Certiorari to review an award of the Industrial Accident Commission allowing compensation to one Sievers. Sievers was a seaman on the steamer "Bowdoin," which was owned by the petitioner for the writ. He *Page 391 
received his injuries on said vessel, while it was lying in the harbor of Eureka, in this state.
The contention of the petitioner is that the Industrial Accident Commission has no jurisdiction to award compensation for injuries to seamen upon navigable waters. The recent decisions of this court in the two cases entitled North PacificSteamship Co. v. Industrial Accident Commission, ante, p. 346, [163 P. 199, 203], preclude the sustaining of this claim.
The award is affirmed.
Rehearing denied.